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          10
          11                             UNITED STATES DISTRICT COURT
          12                           CENTRAL DISTRICT OF CALIFORNIA
          13                                                   CASE NO. 8:21-CV-00768-JVS-KES
                 JANE DOE on behalf of herself and all
          14     others similarly situated,
                                                               DECLARATION OF MICHAEL H.
          15                         Plaintiff,
                                                               DORE IN SUPPORT OF DEFENDANT
          16           v.                                      REDDIT, INC.’S MOTION TO STAY
                                                               DISCOVERY PENDING
          17     REDDIT, INC.,
                                                               RESOLUTION OF DISPOSITIVE
          18                         Defendant.                MOTIONS UNDER FED. R. CIV. P.
                                                               12(b)
          19
                                                              Before: Hon. James V. Selna
          20
                                                              Hearing: July 19, 2021
          21                                                  Time: 1:30 p.m.
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Crutcher LLP     DECLARATION OF MICHAEL H. DORE ISO DEFENDANT’S MOTION TO STAY DISCOVERY PENDING
                 RESOLUTION OF DISPOSITIVE MOTIONS UNDER FED. R. CIV. P. 12(b) CASE NO. 8:21-CV-00768-JVS-KES
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            1                          DECLARATION OF MICHAEL H. DORE
            2            I, Michael H. Dore, hereby declare and state:
            3       1. I am an attorney duly licensed to practice law before this Court and all courts of
            4    the State of California. I am a partner with the law firm of Gibson, Dunn & Crutcher
            5    LLP and counsel of record for Defendant Reddit, Inc. (“Reddit”) in the above-captioned
            6    action.
            7       2. I have personal knowledge of the facts stated herein and, if called and sworn as a
            8    witness, I could and would testify competently with respect thereto.
            9       3. I make this Declaration in support of Reddit’s Motion to Stay Discovery Pending
          10     Resolution of Dispositive Motions under Fed. R. Civ. P. 12(b).
          11        4. On April 22, 2021, Plaintiff Jane Doe filed a putative class action lawsuit against
          12     Reddit, Inc. Dkt. 1. The putative class is defined as “all persons who were under the age
          13     of 18 when they appeared in a video or image that has been uploaded or otherwise made
          14     available for viewing on any website owned or operated by Reddit, Inc. in the last ten
          15     years.” Id. ¶ 130. The complaint alleges six causes of action, including violations of
          16     federal and state statutory law, as well as common law claims. The complaint seeks a
          17     determination that this is a proper class action under Rule 23 of the Federal Rules of Civil
          18     Procedure and appointment of Plaintiff’s counsel as class counsel, and also seeks
          19     injunctive relief, compensatory and punitive damages, reasonable attorneys’ fees, and
          20     other relief the Court deems just and proper. Dkt. 1, Prayer for Relief.
          21        5.     On April 29, I contacted counsel for Plaintiff to request a 30-day extension for
          22     Reddit to file its motion to dismiss to respond to the complaint from May 17 to June 16.
          23     On May 3, Plaintiff’s counsel agreed to stipulate to an extension for Reddit’s responsive
          24     deadline to June 16, and the Court granted this extension on May 7. Dkt. 22.
          25        6. On May 10, the Court issued an order setting the Rule 26(f) Scheduling Conference
          26     for July 19 at 10:00 a.m. Dkt. 23. Under the Federal Rules of Civil Procedure, the last
          27     day to have the Rule 26(f) conference is June 28.
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            1       7.   On June 1, while counsel for both parties were still corresponding regarding the
            2    appropriate timing for their Rule 26(f) conference, Plaintiff’s counsel sent by email 26
            3    requests for production and five interrogatories. A true and correct copy of the discovery
            4    sent to Reddit’s counsel is attached hereto as Exhibit A.
            5       8.   On June 3, I emailed Plaintiff’s counsel to remind them that Reddit will be filing
            6    a motion to dismiss. I also emphasized that Reddit’s motion would raise, among other
            7    things, the immunity from suit under Section 230 of the Communications Decency Act,
            8    47 U.S.C. § 230. To avoid unnecessary time and expense for both sides, and burdening
            9    the Court with unnecessary motion practice, I asked Plaintiff’s counsel if they would
          10     withdraw their discovery requests until the Court resolves Reddit’s motion to dismiss, or,
          11     in the alternative, if Plaintiff would be willing to stipulate to stay the deadline to respond
          12     to the discovery requests. I stated that if Plaintiff is not willing to withdraw the requests
          13     or agree to a stay, Reddit would file a motion to stay all discovery. A true and correct
          14     copy of this correspondence is attached hereto as Exhibit B.
          15        9.   On June 4, Plaintiff’s counsel responded to this email, rejecting Reddit’s proposal
          16     for Plaintiff to withdraw their requests or, alternatively, agree to a stay of discovery. A
          17     true and correct copy of this correspondence is attached hereto as Exhibit C.
          18        10. On June 7, the parties held a meet and confer by telephone to discuss Reddit’s
          19     forthcoming motion to dismiss. In addition to discussing the grounds for the motion to
          20     dismiss, I again notified Plaintiff’s counsel of the potential need to file a motion to stay
          21     discovery pending a resolution of the motion to dismiss absent an agreement between the
          22     parties. Plaintiff’s counsel again rejected this proposal.
          23        11. On that same June 7 call, I discussed with Plaintiff’s counsel the fact that the
          24     operative class definition in the complaint appears overly expansive, as it contains no
          25     language limiting the class to individuals (minor or otherwise) who were the subject of
          26     sexually explicit content uploaded onto Reddit’s platform. Plaintiff’s counsel stated that
          27     they would confer internally and “get back” to me on this class definition.
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            1       12. On June 10, Plaintiff’s counsel sent an email to follow up on the discussions
            2    during the June 7 meet and confer. A true and correct copy of this correspondence and
            3    the correspondence that followed, described in the following paragraphs, is attached
            4    hereto as Exhibit D. As to Reddit’s forthcoming motion to stay discovery, Plaintiff’s
            5    counsel again noted that they declined Reddit’s request to withdraw or stay discovery,
            6    emphasizing their objection to Reddit “filing a motion to stay on an ex parte basis.”
            7       13. On June 11, Zach Tan, an associate at Gibson, Dunn & Crutcher who also is
            8    representing Reddit in the above-captioned matter, sent an email to Plaintiff’s counsel
            9    with additions and objections to Plaintiff’s counsel’s summary of the parties’ June 7 meet
          10     and confer. Ex. D. As to the motion to stay, Mr. Tan clarified that Reddit did not intend
          11     to file the motion to stay discovery on an ex parte basis, but rather that would file the
          12     motion as a Joint Stipulation under Local Rule 37. On the issue of Plaintiff’s expansive
          13     class definition, Mr. Tan asked Plaintiff’s counsel to let our team know by June 14
          14     whether Plaintiff intended to amend her complaint, because doing so prior to any
          15     impending motion practice could avoid unnecessary burden on the Court.
          16        14. On June 14, Plaintiff’s counsel responded. Ex. D. With regard to the motion to
          17     stay, Plaintiff’s counsel stated their position that the proper procedural mechanism for
          18     such a request was through a regularly noticed motion under Local Rule 7. Plaintiff’s
          19     counsel also rejected the suggestion to amend their class definition “at this time,” but
          20     stated that that they “may amend the complaint” at an unspecified time in the future.
          21        15. On June 21, Plaintiff’s counsel advised that they intended to amend the complaint
          22     in response to Reddit’s motion to dismiss. Ex. D.
          23        I declare under penalty of perjury of the laws of the United States that the foregoing
          24     is true and correct and that this Declaration was executed on June 21, 2021 at New York,
          25     New York.
          26
          27                                             By: /s/ Michael H. Dore
          28                                             Michael H. Dore
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            1       I hereby attest that the signatory listed above, and on whose behalf the filing is
            2    submitted, concurs in the filing’s content and has authorized the filing.
            3
            4                                            By: /s/ Theane Evangelis
            5                                            Theane Evangelis
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